Case 1:24-cv-00648-AA    Document 14-9   Filed 05/07/24   Page 1 of 2




                        EXHIBIT 08
                                   Communication aud Orthodontist             EXHIBIT OB
         Case 1:24-cv-00648-AA       Document 14-9           Filed 05/07/24     Page 2 of 2

Subject: Communication and Orthodentist
From: Arnaud Paris <aparis@sysmicfilms.com>
Date: 03/05/2024 05:28
To: Heidi Paris <heidimparls@gmail.com>

Heidi, I am sad tn see that you are still keeping the girls from communicating with me on
Facetime directly and unsupervised and that it has now been going on for a full month.
I had specifically asked you in my last email to be able to have video Facetimes with the
girls directly and without your supervision. And instead you organized a very disturbing call
yesterday on whatsapp audio, no video, I couldn't see my children, in which you censored them
of 90% of what they wanted to tell me which is an extremely troubling and uncomfortable
situation for children to be in when they're desperately wanting to speak with their dad.
This is not by any means proper communication that a 9 year old should have with their Father
especially after you made them go through over the, last month when you illegally ripped them
off their life in Paris in the middle their school year.
They tried to mention on that call how you escaped Europe by taking 4 different planes in this
crazy fugitive run you took them on when you left France illegally on April 8th and you
immediately shut them down ...
I also sensed that you are imposing on them some strong parental alienation in my regards
which is having me extremely concerned. You are clearly trying to instrumentalize and
manipulate our kids again in your legal strategies and now even in this kidnapping attempt
from France. You have a bad history of doing psychological abuse onto our children Heidi and
this behavior is very concerning to me.
What was also shocking is that I found out from the girls on that call that you had just taken
them to the orthodentist?! Heidi they were on a two year long ortodontist treatment in France
already!! A treatment that you had approved yourself in France a few months ago through your
lawyer!
And on your crazy escape from France you voluntarily left behind their teeth expanders so that
you could start a new treatment in Oregon? This is again so concerning to see you having such
a reckless behavior towards our children, interrupting and hijacking the medical treatments of
our kids for your legal purposes!
I also just got their suitcase back that you had voluntarily left at the hotel in Perpignan
for days to make it look like you were still doing your visitation vacation week at that hotel
with your mother while you were on you illegal fugitive run to escape France and Europe. You
left behind all their cloth, their parental communication devices, their teeth expanders, and
also their favorite stuffed animals?!? Heidi, I have no words to describe how shocked I am to
see how elaborated your illegal escape plan was and how heartless you had to be towards our
children to unfold it successfully.
I am extremely concerned about the parent you are to our children right now. Please come back
to your senses, stop destroying their French school year that you made them miss already two
weeks, and return them to their schools in Paris immediately.
Also please re-establish immediately proper communication between me and the children and by
that I mean direct, unsupervised video calls at decent French hours.
Arnaud




                             EXHIBIT 08 - PAGE 1 OF 1
